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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 19-24539-CIV-MORENO


  HAPPY TAX FRANCHISING, LLC et al.,

         Plaintiffs,
  vs.

  JAMEY HILL et al.,

         Defendants.                                 /

   PLAINTIFFS’ RESPONSE TO MELISSA SALYER’S MOTION TO DISMISS [D.E. 51]
   AND PLAINTIFFS’ MOTION FOR LEAVE TO TAKE JURISDICTIONAL DISCOVERY

           Plaintiffs, Happy Tax Franchising LLC (“Happy Tax”) and Mario Costanz (“Costanz”)

   (collectively, “Plaintiffs”), through undersigned counsel, file their Response to the Motion to

   Dismiss filed by Defendant, Melissa Salyer (“Salyer”), and file their Motion for Leave to Take

   Jurisdictional Discovery from Salyer prior to a ruling on Salyer’s jurisdictional arguments.

                                                 INTRODUCTION

          Salyer’s Motion seeks dismissal for two reasons. Relying on her affidavit, Salyer argues

   the entire case against her should be dismissed because this Court lacks specific personal

   jurisdiction over her. [D.E. 51-1] (“Affidavit”). In contrast, Salyer’s contentions in her Affidavit,

   along with the exhibits attached hereto, provide sufficient facts establishing a prima facie case of

   personal jurisdiction over Salyer under Florida’s Long-Arm Statute and demonstrating that

   exercising personal jurisdiction over Salyer satisfies due process requirements. At a minimum,

   Salyer’s Affidavit and the exhibits attached hereto inject issues and raise potential inconsistencies

   in Salyer’s Affidavit that cannot be resolved by the Court, or adequately addressed by Plaintiffs

   herein, absent some limited jurisdictional discovery and supplemental briefing before the Court

   rules on Salyer’s jurisdictional arguments.



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         Short of dismissing the entire action, Salyer contends Plaintiffs’ defamation claims in

  Counts I and II of Plaintiffs’ Second Amended Complaint (“SAC”) do not state claims against her

  under Rule 12(b)(6). Salyer’s Motion at 6-9. Salyer ignores the factual allegations in the SAC

  that more than provide her fair notice of the substance of the defamatory statements and the bases

  for Counts I and II, and establish plausible grounds for Plaintiffs’ entitlement to relief on these

  claims. Notably, while the SAC also alleges claims against Salyer for Misappropriation of Trade

  Secrets (Count V) and Breach of Fiduciary Duty and Duty of Loyalty (Count VI), Salyer has not

  moved to dismiss these claims for failure to state a claim. Salyer’s Motion at 6. For purposes of

  Salyer’s Motion, the Court must therefore assume Counts V and VI of the SAC state viable causes

  of action.

         For these and the other reasons set forth below, Salyer’s request to dismiss Counts I and II

  should be denied, and Plaintiffs should be granted leave to conduct limited jurisdictional discovery

  from Salyer prior to a ruling on Salyer’s jurisdictional arguments.

                  PLAINTIFFS’ RESPONSE TO SALYER’S MOTION TO DISMISS

         A.         Standard on a Motion to Dismiss For Lack of Personal Jurisdiction.

         In LS Energia, Inc. v. Geva Engineering Group LS Energia, Inc., the court stated:

         Under Florida law, a Florida court may exercise personal jurisdiction over a
         nonresident defendant pursuant to a two-prong test: first, whether plaintiff has
         alleged sufficient facts to satisfy the requirements of Florida’s long-arm statute,
         Florida Statute § 48.193; second, whether plaintiff has demonstrated that defendant
         has sufficient minimum contacts’ with Florida to satisfy due process
         requirements….

         …The court accepts the facts in the complaint as true, unless those allegations are
         controverted by the defendant’s affidavits. In the event of a conflict, all reasonable
         inferences should be made in favor of the plaintiff. The Court may make factual
         findings so long as the factual disputes do not decide the merits and the parties have
         a sufficient opportunity to develop the record.

  2013 WL 12145901, at *2 (S.D. Fla. Oct. 24, 2013).




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          “There are two types of personal jurisdiction: specific and general.” Miller v. Gizmodo

  Media Group, LLC, 383 F. Supp. 3d. 1365, 1370 (S.D. Fla. 2019) (granting a motion to dismiss

  on jurisdictional grounds “[f]ollowing jurisdictional discovery”); see also Salyer’s Motion at 4,

  5, 8 n.2, 11 (citing Gizmodo Media Group, LLC). “General personal jurisdiction is based on a

  defendant’s substantial activity in [a state] without regard to where the cause of action arose,

  whereas specific jurisdiction authorized jurisdiction over causes of action arising from or related

  to the defendant’s actions within [a state.]” Gizmodo Media Group, LLC, 383 F. Supp. 3d. at 1370

  (citations omitted). “In the context of a motion to dismiss for lack of personal jurisdiction in which

  no evidentiary hearing is held, the plaintiff must establish a prima facie case of jurisdiction over a

  non-resident defendant.” Id. “A prima facie case is established if the plaintiff presents enough

  evidence to withstand a motion for directed verdict.” Id.

          As set forth below, Plaintiffs submit they have established a prima facie case for both

  general and specific personal jurisdiction over Salyer. Alternatively, Plaintiffs should be afforded

  a reasonable opportunity to further develop the record through limited jurisdictional discovery

  upon Salyer prior to a ruling on her jurisdictional arguments. See Plaintiffs’ Motion for Leave to

  Take Jurisdictional Discovery at 13, infra.

          B.     Salyer is Subject to Personal Jurisdiction Even on This Limited Record.

                i.          Salyer’s Affidavit and the Exhibits Attached Hereto Establish a Prima
                            Facie Case of General Personal Jurisdiction Under Section 48.193(2).

          Under Florida’s Long-Arm Statute “[a] defendant who is engaged in substantial and not

  isolated activity within this state, whether such activity is wholly interstate, intrastate, or otherwise,

  is subject to the jurisdiction of the courts of this state, whether or not the claim arises from that

  activity.” Fla. Stat. § 48.193(2). Salyer’s contentions in her Affidavit, along with the exhibits

  attached hereto, provide sufficient facts establishing a prima facie case of general personal

  jurisdiction over Salyer under Florida’s Long-Arm Statute.


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         For example, Salyer previously owned a business in Florida which she sold in 2009.

  Salyer’s Affidavit at ¶ 16; see also “Business Spotlight-Dog 30.” Keynoter (June 21, 2008) at 22

  (discussing Salyer’s Key West pet store), attached as Exhibit “1.” According to Salyer’s Linkedin

  profile, Salyer currently has a Florida telephone number with a (305) area code

  (“Linkedin Profile”), attached as Exhibit “2.”1 Salyer’s Linkedin Profile shows a gap in her

  employment history from 1998 through 2010 which coincides with her owning her pet store in

  Key West, Florida. Linkedin Profile at 3. During the time Salyer owned her Florida pet store,

  Salyer received at least one Florida Uniform Traffic Citation in Key West, Florida

  (“Traffic Citation”), attached as Exhibit “3.” To this day, Salyer still travels to Florida every

  other year to vacation and “to take her daughter to visit her father” who still resides in Key West,

  Florida. Salyer Affidavit at ¶ 18. In fact, her present employer, The Franchise Consulting

  Company, currently maintains an office in South Miami, Florida (“Franchise Consultants

  Webpages”), attached as Exhibit “4.”2

         In sum, these undisputed facts demonstrate Salyer operated a business in Florida for some

  time, resided in Florida and/or spent considerable time in Florida, is currently employed by a

  company that maintains an office in South Miami, Florida, and still travels to Florida at least every

  other year to vacation and because of her familial ties to Florida. Together, these facts are

  sufficient to establish a prima facie case of general personal jurisdiction over Salyer under section

  48.193(2) of Florida’s Long-Arm Statute.3



  1.     https://www.linkedin.com/in/melissasalyer.

  2.     https://www.thefranchiseconsultingcompany.com/.

  3.      Salyer’s Motion does not analyze whether she is subject to general personal jurisdiction
  under section 48.193(2) because “Plaintiffs in this matter base their assertion of jurisdiction upon
  specific jurisdiction only….” Salyer’s Motion at 4. Because Salyer’s Affidavit raises new facts
  that establish a case for general personal jurisdiction over Salyer, or at a minimum warrant limited
  jurisdictional discovery on these issues, Plaintiffs will be seeking leave to amend their SAC to
  assert general personal jurisdiction as an additional basis to support jurisdiction over Salyer.
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                 ii.        Plaintiffs Allege a Prima Facie Case of Specific Personal Jurisdiction
                            Under Section 48.193(1)(a)(2).

         A court may exercise specific personal jurisdiction over a non-resident defendant who

  engaged in one of the enumerated acts listed under Florida’s Long-Arm Statute:

            (1)(a) Any person, whether or not a citizen or resident of this state,
            who personally or through an agent does any of the acts enumerated in this
            subsection thereby submits himself or herself, and, if he or she is a natural
            person, his or her personal representative to the jurisdiction of the courts of this
            state for any cause of action from the doing of any of the following acts:
                               *           *               *               *
            (2) Committing a tortious act within this state….

  Fla. Stat. § 48.193(1)(a)(2). “The Eleventh Circuit has consistently applied the broader

  construction of [this subsection] and found personal jurisdiction over someone who commits a

  tortious act outside the state that results in harm inside the state.” Elandia Int’l, Inc. v. Ah Koy,

  690 F. Supp. 2d 1317, 1329 (S.D. Fla. 2010). “[W]e are bound in this case to follow this court’s

  firmly established precedent, which interprets subsection [48.193(1)(a)(2)] to apply to defendants

  committing tortious acts outside the state that cause injury in Florida.” Posner v. Essex Ins. Co.,

  Ltd., 178 F.3d 1209, 1217 (11th Cir. 1999).

          “ ‘Under Florida law, a nonresident defendant commits a tortious act within [Florida]’

  when he commits an act outside the state that causes injury within Florida.”

  Focus Management Group USA, Inc. v. King, 2014 WL 12639960, at *4 (M.D. Fla.

  May 13, 2014) (emphasis in original) (quoting Louis Vuitton Malletier, S.A. v. Mosseri,

  736 F.3d 1339, 1353 (11th Cir. 2013) (citing Licciardello v. Lovelady, 544 F.3d 1280, 1283

  (11th Cir. 2008)). Thus, in Focus Management Group USA, Inc. the court held that the defendant’s

  “alleged conduct of tortuously interring with [the plaintiff], although not actually taking place in

  Florida, is sufficient to satisfy the long-arm because [the plaintiff] is a Florida company and the

  injury resulting from that conduct caused injury to [the plaintiff] in Florida.” Focus Management

  Group USA, Inc., 2014 WL 12639960 at *4.


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         Similarly, in Enviracarbon, Inc. v. Couch the court found that “regardless of the failure to

  plead that Defendants were present in Florida when they committed the offending acts,”

  the Long-Arm Statute had been met because the complaint “pleads that Plaintiff’s principal place

  of business is in Florida and pleads that it suffered injuries in Florida as a result of the torts

  alleged.” 2011 WL 4501058, at *3-4 (M.D. Fla. June 20, 2011) (denying a motion to dismiss for

  lack of personal jurisdiction). These cases compel the same result here.

         It is undisputed Happy Tax is a Florida company with its principal place of business in this

  state. SAC at ¶ 3 [D.E. 36]. The SAC alleges the Court has personal jurisdiction over Salyer

  because her “tortious and improper acts occurring outside of Florida were specifically designed to

  harm and did harm Plaintiffs within Florida where Defendants know Happy Tax is located….”

  Id. at ¶ 16.    To that end, Count V of the SAC states a valid claim against Salyer for

  Misappropriation of Trade Secrets alleging as follows: “As a direct and proximate result of Salyer

  and Pevin’s misappropriation of trade secrets belonging to Happy Tax, Happy Tax has, and

  continues to suffer, damages in the State of Florida.” Id. at ¶ 134 (emphasis added).

         Count VI of the SAC then states a valid claim against Salyer for Breach of Fiduciary Duty

  and Duty of Loyalty alleging: “As a direct and proximate result of Salyer and Pevin’s breach of

  fiduciary duty and breach of loyalty, Happy Tax has, and continues to suffer, damages in the State

  of Florida.” Id. at ¶ 139 (emphasis added). More importantly Count VI alleges:

         136. While acting as officers of Happy Tax, Salyer and Pevin each owed Happy
         Tax a duty of loyalty not to unfairly compete with Happy Tax by carrying on a
         competing business while still employed by Happy Tax.
                               *             *             *             *
         138. Salyer and Pevin each breached their duty of loyalty each owed to Happy
         Tax when they unfairly competed with Happy Tax by carrying on a competing
         business while still employed by Happy Tax and using the ill-gotten Happy Tax
         confidential and proprietary business information they misappropriated before
         leaving the company.

  SAC at ¶¶ 136, 138 (emphasis added).



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         Thus, while Count V seeks damages due to Salyer’s misappropriation of confidential

  business information and trade secrets belonging to Happy Tax (where the location from which

  the ill-gotten documents were improperly acquired and the place of disclosure may be relevant to

  determining jurisdiction), in contrast Count VI seek damages sustained by Happy Tax in Florida

  resulting from Salyer’s unlawful competition with Happy Tax (allegations that are not rebutted by

  Salyer’s Affidavit). 4 Because Salyer ignores the basis for Count VI, and only focuses on the

  allegations underlying Count V, Salyer’s argument that “the tort of misappropriation of trade

  secrets is not a tortious act with the state where the improper disclosure occurs outside of Florida”

  is misplaced and should be rejected.

         The SAC alleges Salyer directed an intentional tort towards Happy Tax which Salyer knew

  was principally located in Florida, the effects of which were suffered by Happy Tax in this forum.

  See SAC at ¶¶ 16, 127-139. Thus, regardless of where Salyer claims she committed the tortious

  acts, she is subject to this Court’s specific jurisdiction under Section 48.193(1)(a)(2) because

  “[u]nder Florida law, a nonresident defendant commits a tortious act within [Florida] when he

  commits an act outside the state that causes injury within Florida.” Focus Management Group

  USA, Inc., 2014 WL 12639960 at *4; see also Future Technology Today, Inc. v. OSF Healthcare

  Systems, 218 F.3d 1247, 1250 (11th Cir. 2000) (holding a motion to dismiss a tort claim for lack

  of personal jurisdiction does not require a full-scale inquiry into whether the defendant committed

  a tort; rather when a plaintiff alleges a claim, and the record is in dispute as to the accuracy of the




  4.       Salyer’s Affidavit alleges that “Franchise Discovery has brokered no deals with a Florida
  resident.” Salyer Affidavit at ¶ 13. This statement, however, does not rebut the allegations in
  Count VI that Salyer unfairly competed with Happy Tax and harmed the company in Florida.
  Indeed, even if Franchise Discovery has not yet brokered any deals with a Florida resident,
  Salyer’s contention does not tell us the extent to which Salyer improperly used Happy Tax’s
  ill-gotten confidential business materials to compete with Happy Tax by marketing and soliciting
  Florida residents to purchase a franchise other than a Happy Tax franchise. These issues are further
  addressed in Plaintiffs’ request for jurisdictional discovery. See Plaintiffs’ Motion for Leave to
  Take Jurisdictional Discovery at 13, infra.
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  claim, the court may construe the facts in the light most favorable to the plaintiff and hold that the

  alleged claim satisfies Florida's Long–Arm Statute).

                iii.        Exercising Personal Jurisdiction Over Salyer Satisfies Due Process
                            Because Salyer Has Minimum Contacts With Florida.

         Florida courts have recognized the term ‘substantial and not isolated activity,’ in the long

  arm statute to be the functional equivalent of the continuous and systematic contact requirement

  for general jurisdiction under the Due Process Clause of the Fourteenth Amendment.” Bernardele

  v. Bonorino, 608 F. Supp. 2d 1313, 1327 n.2 (S.D. Fla. 2009). “Therefore, the analyses

  of jurisdiction under § 48.193(2) and the Due Process Clause merge.” Id.

         Here, the Due Process requirements are satisfied because, as argued above, Salyer’s

  contacts with this forum are sufficient to establish a prima facie case of general personal

  jurisdiction over Salyer. See Section B(i), supra. Indeed, it is undisputed that Salyer previously

  owned a business in Florida for many years, maintains a current Florida phone number, travels to

  Florida every other year for vacation and to visit her ex-husband, and previously received a Florida

  Uniform Traffic Citation which itself could have resulted in a court hearing if Salyer chose to

  dispute it. Id. Salyer’s contention that her “few contacts with the state of Florida are not such that

  she might expect to be haled into a Florida Court” must be squarely rejected. Salyer’s Motion at

  15.5




  5.      Salyer also argues that proceeding in Florida would offend “traditional notions of fair play
  and substantial justice” because she “lives in Virginia and would have to travel approximately
  1000 miles for Court appearances [and] is a single parent and would have to leave her young
  daughter to do so.” Salyer’s Motion at 14-15. However, modern technology minimizes these
  concerns by allowing Salyer to attend hearings, if any, telephonically or through other electronic
  means, such as attending proceedings or depositions through Zoom. Thus, while proceeding in
  Florida may be inconvenient to Salyer, because of technology it does not impose a burden in
  violation of any Due Process concerns. In any event, since Salyer’s current employer maintains a
  Florida office such that Salyer may also travel to Florida for business, limited jurisdictional
  discovery is further warranted to flesh out these Due Process issues prior to a ruling on Salyer’s
  Motion.
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         C.       Plaintiffs’ Defamation Claims are Facially Plausible, Well Pled and Factually
                  Supported.

         Salyer does not dispute Plaintiffs have sufficiently described “the content of the alleged

  defamatory statement[s], the timeframe of publication, and the manner of damage to the plaintiff.”

  SZS Solutions, Inc. v. Brother Int'l Corp., 2018 WL 3126220, at *2 (S.D. Fla. June 26, 2018).

  Indeed, Plaintiffs specify precisely when these statements were made, quote these statements

  verbatim, identify the groups of people who received them, and the defamatory nature of the

  statements at issue and the harm flowing from them are self-evident. See SAC at ¶¶ 79-94.

         Instead, Salyer argues Plaintiffs’ defamation claims do not state plausible claims against

  her because Plaintiffs have not alleged “any facts tending to show that Ms. Slayer was an author

  and publisher of any of the alleged defamatory emails.” Slayer Motion at 8. Plaintiffs submit the

  SAC as currently pled provides factual support sufficient to state plausible defamation claims

  against Salyer pursuant to Rule 8. See, e.g., Ward v. Triple Canopy, Inc., 2017 WL 3149431,

  at *1-2 (M.D. Fla. July 25, 2017) (“The standard on a Rule 12(b)(6) motion is not whether the

  plaintiff will ultimately prevail on his or her theories, but whether the allegations are sufficient to

  allow the plaintiff to conduct discovery in an attempt to prove the allegations.”); SZS Solutions,

  Inc., 2018 WL 3126220 at *2 (“[A] well-pleaded complaint under Rule 8(a)(2) requires only a

  short and plain statement of the claim showing that the pleader is entitled to relief.”).

         In Five for Entertainment S.A. v. Rodriguez, the plaintiff brought a defamation claim

  asserting that various defendants published false and defamatory statements concerning plaintiff

  in a press release provided to the media, which was also posted online and available to the public

  at large. 877 F. Supp. 2d 1321, 1326 (S.D. Fla. 2012). “In a defamation case, a plaintiff must

  allege certain facts such as the identity of the speaker, a description of the statement, and provide

  a time frame within which the publication occurred.” Id. (citations omitted). Finding the plaintiff

  “fails to allege facts to support any of the elements of a defamation claim[,]” the court held:


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          The defamation claim here involves both the press release and a number of
          statements Baldiri purportedly uttered in the days or weeks following the
          November 17, 2010 announcement. With respect to the statements made by
          Baldiri, Plaintiffs failed to allege when those statements were made and failed to
          include a sufficient description of the statements….In the absence of the necessary
          facts—when the statements were made—and an adequate description of the
          statements, the defamation claim as it relates to Baldiri's statements must be
          dismissed with leave to plead anew.

          The defamation claim based on the press release must also be dismissed.
          Plaintiffs have alleged ‘on information and belief’ that the statements made in the
          press release were made with the knowledge, consent and approval of all of the
          Defendants. While this form of pleading is permitted, a plaintiff is still required
          to allege with particularity the factual basis upon which the information and
          belief was founded. Plaintiffs have merely alleged that the press release on
          Icaro's letterhead was published on Daddy Yankee and Icaro's website.
          There are not allegations, other than Plaintiffs' bare assertion on ‘information
          and belief’ that would implicate EC Records, Ayala or Baldiri in the
          publication of those statements….Accordingly, the Court will dismiss the
          defamation claim with leave to re-plead….

   Id. at 1328-29 (emphasis added) (internal citations omitted).

          Here, however, Plaintiffs’ SAC clearly describes the content of the defamatory statements,

   describes the context in which such statements were made, and precisely dates when such

   statements were published. See SAC at ¶¶ 79-94. The SAC also alleges that the defamatory

   statements were “created and published in concert by Defendants, and each Defendant knowingly

   disseminated it to third parties.” Id. at ¶ 82; accord id. at ¶ 84 (“On October 14, 2019,

   another anonymous email believed to have originated from and/or been disseminated by

   Defendants coming from ‘Team Happy Tax happytax@protonmail.com,’ containing no subject

   line, was sent to Knox Wimberly….”).

          Because the defamatory emails were sent anonymously, the SAC then provides facts

   supporting Plaintiffs’ plausible belief that the defamatory content at issue was created,

   published and originated with Defendants (which include Salyer). See id. at ¶ 80, 82, 93, 94, 96,

   97. Indeed, while Five for Entertainment S.A. did not involve anonymous publications, this case

   does—a fact Defendants are each using to their advantage. Unlike the scant allegations in the


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   Five for Entertainment S.A. complaint, which failed to allege any of the elements needed to sustain

   a defamation claim, the SAC in this case does. The fact Plaintiffs cannot yet definitively say that

   Salyer is responsible for disseminating the anonymous defamatory statements, and at this point are

   forced to allege certain matters upon information and belief pending further discovery, do not

   preclude Plaintiffs’ defamation claims under these facts.

           “Here, Plaintiff has supplied a majority of the information that was absent in

   Five for Entertainment S.A.”           SZS Solutions, Inc., 2018 WL 3126220 at *2.                       As held in

   SZS Solutions, Inc.:

           …Brother argues that Plaintiff has failed to state a [defamation] claim because the
           Complaint does not set forth the identity of the speaker, the content of the alleged
           defamatory statement, the timeframe of publication, and the manner of damage to
           the plaintiff.

           Defendant relies heavily on Five for Entertainment S.A. v. Rodriguez, 877 F. Supp.
           2d 1321, 1328 (S.D. Fla. 2012), which dismissed a defamation claim because the
           plaintiff failed to identify the defamatory statement, its context, when it was made,
           and the speaker. However, the Court finds several distinguishing facts between
           Five for Entertainment and the instant case and is therefore unpersuaded by
           Defendant’s argument. Here, Plaintiff has supplied a majority of the information
           that was absent in Five for Entertainment. Plaintiff identified the defamatory
           statements as Brother’s false reports to Amazon that Plaintiff was infringing on its
           intellectual property. Plaintiff provided May 9, 2017 and September 12, 2017 as
           the dates around which the purported defamatory statements were made.
           Plaintiff identified the Defendant as the party that made the defamatory statements.
           Finally, Plaintiff referenced the loss of sales, when Amazon froze Plaintiff’s listings
           of Brother products, and the injury to Plaintiff’s reputation with Amazon, when
           Amazon threatened to remove all SZS listings from its website, as the damage
           suffered.
                               *               *              *              *
           In this case, Plaintiff’s original complaint satisfied the liberal pleading standard
           required by Iqbal: the Complaint described the allegedly defamatory statement and
           stated when it was communicated to Amazon by Brother. The information in the
           Complaint is sufficient to give Brother fair notice of the basis of Plaintiff’s claim.
           Therefore, Rule 8(a) is satisfied.

   SZS Solutions, Inc., 2018 WL 3126220 at *2-3 (“In fact, Five for Entertainment explicitly states

   that a complaint ‘does not need detailed factual allegations,’ but rather must provide the general

   grounds for plaintiff’s entitlement to relief.”).


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          And in Walter v. Jet Aviation Flight Servs., Inc., the court denied a motion seeking to

   dismiss a defamation claim stating:

          …Rather, as Defendants emphasize, a claim for defamation must ‘give the defendant
          fair notice of what the claim is and the grounds upon which it rests’ and must contain
          enough factual allegations to ‘raise a right to relief above the speculative level.’
          Plaintiff has done so. While the Court acknowledges the facial validity of
          Defendants' argument, and while certain areas of the complaint do lack
          specificity, Plaintiff’s Complaint must be viewed in its entirety and it must be
          viewed with all inferences taken in Plaintiff’s favor. Viewed in that light, Plaintiff’s
          Complaint establishes a cohesive narrative. That narrative is that Defendants acted
          with malicious ill will to manufacture a way to both terminate Plaintiff and to ruin
          Plaintiff’s reputation with a critical third party, Mr. Bruce Kovner. While certain
          portions of Plaintiff’s narrative lack specificity, the Plaintiff has also explained in
          the Complaint by implication why that is so. In sum, Plaintiff has alleged enough
          factual content to raise his right to relief above a speculative level and, as a result,
          Defendants' arguments pertaining to specificity are rejected.

   2016 WL 7116641, at *1 (S.D. Fla. Dec. 7, 2016) (internal citations omitted); accord Ward,

   2017 WL 3149431 at *3 (finding that “while [plaintiff’s] complaint is certainly not a model of

   clarity, it is sufficient to give [defendant] fair notice of the substance of the alleged defamatory

   statements”).

          Plaintiffs’ defamation claims in Counts I and II properly state the elements of such claims,

   provide sufficient factual support for those claims, and clearly provide Salyer with notice of the

   bases of such claims in compliance with Rule 8. Salyer’s request to dismiss Counts I and II should

   be denied.      See Taslidzic v. Luther, 2018 WL 3134419, at *7 (S.D. Fla. May 21, 2018)

   (rejecting the defendant’s contention that the plaintiff’s defamation claim lacks the requisite level

   of specificity and holding: “The Complaint details the content of the statements made by

   Defendant Luther to particular identified contractors and the time frame when the statements were

   made. No more is required at this stage.”).




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     PLAINTIFFS’ MOTION FOR LEAVE TO TAKE JURISDICTIONAL DISCOVERY

          In the event the Court finds Salyer has sufficiently shifted the burden back to Plaintiffs to

   come forth with facts/evidence establishing personal jurisdiction, Plaintiffs should be afforded a

   reasonable opportunity to test Salyer’s assertions and glean additional supporting facts through

   limited jurisdictional discovery before the Court rules on Salyer’s jurisdictional arguments.

          “[T]he rules entitle a plaintiff to elicit material through discovery before a claim may be

   dismissed for lack of jurisdiction.”                 Blanco v. Carigulf Lines, 632 F.2d 656, 658

   (5th Cir. 1980)). Accordingly, “federal courts have the power to order, at their discretion,

   the discovery of facts necessary to ascertain their competency to entertain the merits.”

   Elardi v. I.S. Makinen Oy, 2019 WL 6003210, *2 (S.D. Fla. Nov. 14, 2019)

   (citing Eaton v. Dorchester Dev., Inc., 692 F.2d 727, 729 (11th Cir. 1982)). “Plaintiffs have a

   ‘qualified right’ to jurisdictional discovery if the jurisdictional question is genuinely in dispute and

   the court cannot resolve the issue in the early stages of the litigation.” Elardi, 2019 WL 6003210

   at *2 (citations omitted). As the Elardi court stated:

          We note, however, that it is not accurate that a district court has complete discretion
          to grant or deny a request for jurisdictional discovery when the jurisdictional facts
          are in dispute. It is more appropriate to say that discretion is limited ‘to the form
          that the discovery will take,’ as opposed to whether there will be jurisdictional
          discovery. Thus, ‘[a] plaintiff faced with a motion to dismiss for lack of
          personal jurisdiction is entitled to reasonable discovery, lest the defendant
          defeat the jurisdiction of a federal court by withholding information on its
          contacts with the forum.’

   Id. (emphasis added) (quoting Diamond Chem. Co. v. Atofina Chems., Inc., 268 F. Supp. 2d 1, 15

   (D.C. Cir. 2003)).

          For these reasons, courts in this circuit routinely permit limited jurisdictional discovery before

   ruling on a jurisdictional motion to dismiss. See, e.g. Kilma v. Carnival Corp., 2008 WL 4559231,

   at *1 (S.D. Fla. Oct. 10, 2008) (permitting jurisdictional discovery prior to ruling on a motion to

   dismiss); Sierra Equity Group, Inc., v. White Oak Equity Partners, LLC, 2008 WL 1771857, *2


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   (S.D. Fla. April 15, 2008) (“[J]urisdictional discovery will be useful to determine the actual extent

   of Defendants’ contacts with Florida to determine whether this case can be resolved on its merits.

   Without factual discovery, the Court would be left to conjecture whether it could exercise

   jurisdiction over Defendants.”) Eaton, 692 F.2d at 729 (holding it was premature to dismiss a claim

   for lack of jurisdiction where plaintiffs were not given an opportunity to elicit material through

   discovery to support a determination on jurisdiction); Blanco Lines, 632 F.2d at 657 (reversing a

   dismissal on jurisdictional grounds because “Plaintiff is not required to rely exclusively upon a

   defendant's affidavit for resolution of the jurisdictional issue” where the dismissal was entered

   before Plaintiff had an adequate opportunity to take jurisdictional discovery).

          Here, limited jurisdictional discovery upon Salyer is warranted because personal

   jurisdiction is genuinely in dispute and cannot be resolved by relying solely on the untested and

   conclusory assertions contained in Salyer’s Affidavit. For example, Salyer’s Affidavit raises

   questions regarding Salyer’s ownership of her Florida pet store that are relevant to a jurisdictional

   analysis (such as the nature of Salyer’s ownership interest in the pet store, how long she owned

   the pet store, Salyer’s day-to-day role and responsibilities with the pet store, the nature and scope

   of the services provided by the pet store, whether Salyer obtained and held any business licenses

   in connection with owning the pet store, and what other contracts Salyer entered with Florida

   residents or businesses related to the pet store in which she previously submitted to jurisdiction in

   this forum, among others). Salyer Affidavit at ¶ 18.

          While Salyer states that she has “never owned real property in Florida,” it is unclear

   whether she owns any personal property in Florida (such as a boat), or whether she ever executed

   any lease, either personally or in connection with her pet store, under which Salyer submitted to

   jurisdiction in Florida. Id. at ¶ 22. There are also questions whether Salyer resided in Florida

   during the entire time she owned the pet store (a reasonable inference given the significant gap in

   her employment history provided in her Linkedin Profile). See Exhibit “2”; Section B(i), supra.

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           Moreover, there are questions regarding Salyer’s current Florida telephone number

   (such as how long she has held that (305) phone number, whether she uses her phone number for

   pecuniary gain in Florida, and why she obtained that phone number in the first place if she truly

   has no connections with Florida). There are questions regarding Salyer’s consistent visits to

   Florida and the amount of time she has spent in Florida in connection with those visits.

   Salyer Affidavit at ¶ 19. There are questions regarding Salyer’s relationship with the father of

   Salyer’s daughter (such as where/when Salyer met this person, whether they were married and

   where, whether there were any divorce or other related proceedings were held in Florida,

   and whether Salyer and this person have any agreements that are relevant to a jurisdictional

   analysis). Id. at ¶ 17.

           Furthermore, while Salyer’s Affidavit states she has “never voted in Florida,”

   Salyer’s Affidavit does not state that Salyer has never registered to vote in Florida. Id. at ¶ 20.

   And while Salyer’s Affidavit states that “Franchise Discovery, LLC, is a Virginia company and

   has an office in Virginia only,” id. at ¶ 11, according to Salyer’s Linkedin Profile she is also a

   Senior Consultant for The Franchise Consulting Company, which according to the Franchise

   Consultants Webpages, does maintain an office in Florida. See Exhibit “4.” This raises further

   questions regarding the relationship between Franchise Discovery, LLC and The Franchise

   Consulting Company, the scope and extent of those companies’ business operations in Florida,

   Salyer’s role with those companies as it relates to their Florida operations, and Salyer’s marketing

   and solicitation efforts to Florida residents using Happy Tax’s ill-gotten confidential business

   material on behalf of those companies (even if those efforts did not result in any formal deals with

   Florida residents).




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          Thus, Plaintiffs submit limited jurisdictional discovery may reveal:

          •         Salyer owned and operated a business in Florida for pecuniary gain for many years
                    and generated substantial revenues from conducting such business.

          •         Salyer resided in Florida for many years while she owned and operated her pet
                    store.

          •         Salyer has traveled to Florida for the purpose of conducting business on behalf of
                    Happy Tax, and either or both Franchise Discovery, LLC and The Franchise
                    Consulting Company.

          •         In connection with Salyer’s pet store, other agreements exist between Salyer and
                    Florida-based businesses or Florida residents wherein Salyer agreed to submit to
                    jurisdiction in Florida.

          •         Salyer had regular, systematic and routine telephonic, electronic and written
                    communications directed to businesses and residents located in Florida for the
                    purposes of conducting business.

          •         Salyer held business or other licenses in Florida in connection with her pet store.

          •         Salyer has agreements with the father of her daughter that create a further nexus
                    between Salyer and Florida.

          •         Salyer has received traffic tickets, or other state imposed fines or penalties, that
                    demonstrate Salyer has previously submitted to the jurisdiction of Florida in some
                    capacity.

          Plaintiffs should have the opportunity to conduct jurisdictional discovery before the Court

   rules on Salyer’s jurisdictional arguments:

          Although it is unlikely that general jurisdiction exists based on the facts
          pleaded, the possibility is no so remote so as to justify a finding that
          jurisdictional discovery is unwarranted. If other agreements negotiated in
          Florida exist between Thriller and other Florida-based cruise lines, if Carnival or
          other Florida-based cruise lines have agreements to insure and indemnify Thriller
          for services provided by Thriller to cruise passengers, or if there are other relevant
          contacts between Thriller and the State of Florida, these activities may be sufficient
          to establish general jurisdiction under the long-arm statute. Therefore, Plaintiffs
          may conduct jurisdictional discovery to ascertain whether personal jurisdiction
          exists over Thriller.

   Kilma v. Carnival Corp., 2008 WL 4559231 at *3 (emphasis added).




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          Plaintiffs’ request for jurisdictional discovery is timely and appropriate, and Plaintiffs

   should be afforded forty-five (45) days to conduct such discovery from Salyer and file their

   Supplemental Response to Salyer’s Motion. See, e.g., Blanco, 632 F.2d at 658 (“[T]he rules entitle

   a plaintiff to elicit material through discovery before a claim may be dismissed for lack of

   jurisdiction.”); Elardi, 2019 WL 6003210 at *3 (“Here, Plaintiff’s motion is well taken because

   there is a genuine dispute as to whether I.S. Makinen availed itself of the Court’s jurisdiction.

   While I.S. Makinen suggests that the record is undisputed and that Plaintiff’s request rises to the

   level of a fishing expedition, that argument is premature as Plaintiff has not even had the chance

   to seek limited jurisdictional discovery. Plaintiff’s request is also unlike other cases where parties

   either waited a substantial amount of time to seek discovery or failed to file a formal motion to

   take discovery.”).

                                                    CONCLUSION

          For all of the foregoing reasons, Plaintiffs respectfully request the Court enter an Order

   denying Salyer’s request to dismiss Counts I and II of the SAC, finding the record already contains

   sufficient facts to establish a prima facie case of personal jurisdiction over Salyer and granting

   Plaintiffs leave to amend their SAC with the additional facts raised by Salyer that establish general

   personal jurisdiction. Alternatively, Plaintiffs respectfully request they be permitted forty-five

   (45) days to conduct limited jurisdictional discovery upon Salyer prior to a ruling on Salyer’s

   jurisdictional arguments.

                         S.D. FLA. LOCAL RULE 7.1(a)(3) CERTIFICATION

          Prior to filing the instant request to take jurisdictional discovery, on June 11, 2020

   the undersigned conferred by email with Salyer’s counsel, Ellen McDowell, Esq., who advised the

   undersigned she was “trying to reach our client and will let you know as soon as we have the

   chance to speak with her.” As of the filing of this Motion, the undersigned has yet to receive

   Salyer’s position on Plaintiffs’ request for limited jurisdictional discovery. Once the undersigned

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   is advised of Salyer’s position, undersigned counsel will separately file a Notice advising the Court

   of Salyer’s position on Plaintiffs’ request for limited jurisdictional discovery.

                                                         Respectfully Submitted,
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                                                         Counsel for Plaintiffs
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                                                      By:
                                                                  JEFFREY M. BERMAN
                                                                  Fla. Bar No.: 14979
                                                                  jeff@jmbermanlaw.com

                                         CERTIFICATE OF SERVICE

          I CERTIFY that on June 11, 2020 the foregoing was served through CM/ECF to all those

   authorized to receive such electronic notices.


                                                         By:_____________________ _________
                                                                  Jeffrey M. Berman




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